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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

    Case No. SA CV 14-2004-DOC (KESx);                           Date: December 15, 2017
    LA CV 17-4776-DOC (KESx)

   Title: ANTHONY BASILE ET AL. V. VALEANT PHARMACEUTICAL INTERNATIONAL,
          INC. ET AL.
          TIMBER HILL LLC V. PERSHING SQUARE CAPITAL MANAGEMENT, L.P. ET AL


   PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                Deborah Lewman                                 Not Present
                Courtroom Clerk                               Court Reporter

          ATTORNEYS PRESENT FOR                       ATTORNEYS PRESENT FOR
                PLAINTIFF:                                 DEFENDANT:
                  None Present                                None Present



         PROCEEDINGS (IN CHAMBERS): ORDER REQUIRING ADDITIONAL
                                    BRIEFING ON SECTION 20A
                                    DAMAGES CAP

          On December 14, 2017, the Court held a hearing regarding allocation of damages
   between the above-referenced Basile and Timber Hill actions. The Court determined that
   it would continue with two separate trials and that it would set one damages cap
   applicable to both actions jointly (i.e. the total damages from both actions combined
   cannot exceed the single cap).

           However, the parties dispute the appropriate way to calculate the statutory cap
   under Section 20A. Defendants contend that the cap must be calculated with reference to
   the date on which any nonpublic material information Pershing possessed was disclosed
   to the public, which they claim involves a factual determination to be made by the jury.
   Timber Hill Plaintiffs claim that setting the cap is a simple legal determination that
   involves calculating Defendants’ actual profits gained from the trades at issue in this
   case.
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                                        UNITED STATES DISTRICT COURT
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           Each of the parties has had the opportunity to submit some amount of briefing on
   the issue of the damages cap: Timber Hill Plaintiffs in their Omnibus Memorandum of
   Points and Authorities regarding allocation of damages (Case No. 17-4776, Dkt. 69), and
   Defendants and Basile Plaintiffs in their summary judgment briefing (Case No. 14-2004,
   Dkts. 394, 514, 548-5). However, the Court wishes to provide each party a full and equal
   opportunity to submit briefing on this issue, both to protect parties’ due process rights
   and to ensure the Court has the full benefit of the parties’ arguments before it makes a
   decision.

          Accordingly, the Court orders the Timber Hill Plaintiffs, Basile Plaintiffs, and
   Defendants each to submit briefing no longer than ten pages regarding the proper method
   of calculating the statutory cap under Section 20A. 1 The Court is particularly interested in
   legal precedent or statutory construction arguments regarding the Section 20A cap
   specifically, not damages generally. The parties are free to argue any position with regard
   to calculation of the cap, even if different from a position they have previously taken.
   This briefing shall be submitted no later than 8 a.m. PST on December 21, 2017.

          The Court will address the allocation of damages under the cap at a later time, and
   will give Plaintiffs from both actions an opportunity to be heard again on this issue.
   However, the Court notes that the “profits” method of allocation presented at the hearing,
   which would limit the Basile Plaintiffs to Defendants’ profits from limited trading on just
   two days, seems to directly contradict or undermine the Court’s finding that Pershing
   “caused” Nomura to purchase Allergan common stock during the Basile class period and
   that Basile Plaintiffs and Defendants traded securities of the “same class.”

             The Clerk shall serve this minute order on the parties.


       MINUTES FORM 11                                                                            Initials of Deputy Clerk
       CIVIL-GEN




   1
     For example, if Defendants continue to argue that the cap must be set with reference to the date on which MNPI
   became public, they should provide legal support for that method, but need not rehash their factual arguments about
   what the proper date actually is. Similarly, if Timber Hill Plaintiffs still believe the cap simply involves calculating
   Defendants’ profits, they should provide legal support for that method, but need not provide evidence or discussion
   of Defendant’s profits and what the total dollar amount of the cap would be in this case using their method. The
   Court is interested at this time in determining the threshold issue of the proper method for calculating the cap, and
   thus resolving the issue of whether setting the cap requires a jury determination.
